 Case 4:08-cr-20009-SFC-MJH ECF No. 14, PageID.25 Filed 01/10/08 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

UNITED STATES OF AMERICA,

                      Plaintiff,             CASE NO.: 08-CR-20009-2FL

vs.                                          HON. PAUL V. GADOLA
                                             MAG. JUDGE MICHAEL J. HLUCHANIUK
MICHAEL SLOAN MULLER,

                      Defendant.
                                              /

                  ORDER FOR PSYCHIATRIC OR PSYCHOLOGICAL
                         EXAMINATION OF DEFENDANT
                                    AND
               ORDER CONTINUING ORDER OF TEMPORARY DETENTION


       This matter was scheduled for a detention hearing on January 9, 2008, pursuant to the

motion for detention made by the government, and on that date the parties appeared for the

purpose of conducting such a hearing. During the hearing it appeared that it would be helpful to

the court, for the purpose of determining the suitability of the defendant’s release on bond

pursuant to 18 U.S.C. § 3142( c ) to obtain additional, expert information relating to the

defendant’s mental health.

       Accordingly, IT IS ORDERED, pursuant to 18 U.S.C. § 3154(1), that the Pretrial

Services Agency shall arrange for a psychiatric or psychological examination of the defendant to

be conducted under the provisions of 18 U.S.C. § 4247(b) and for the results of such an

examination to be furnished to the court and to the parties prior to the next scheduled hearing in

this matter.

       IT IS FURTHER ORDERED that the detention hearing with respect to this defendant

shall be continued until February 4, 2008 at 1:30 P.M., and that the defendant shall be
 Case 4:08-cr-20009-SFC-MJH ECF No. 14, PageID.26 Filed 01/10/08 Page 2 of 2




temporarily detained until that time. At the time of the hearing on January 9, 2008, the

government and the defendant agreed to have such an examination conducted. The government

preserved its right to seek detention in this matter, regardless of the outcome of the examination,

and the defendant waived his rights to have the detention hearing conducted within the time

limits provided for in 18 U.S.C. § 3142(f)(2).

       IT IS FURTHER ORDERED that the time period associated with this process, up to

and including February 4, 2008, or any later date that the detention hearing may be continued to,

shall be excluded under the Speedy Trial Act pursuant to the terms of 18 U.S.C. § 3161(h)(1).



Dated: January 10, 2007                              s/ Michael J. Hluchaniuk
                                                     Michael J. Hluchaniuk
                                                     United States Magistrate Judge

                                 CERTIFICATE OF SERVICE

I hereby certify that on January 10, 2007, I electronically filed the foregoing paper with the Clerk
of the Court using the ECF system which will send notification of such filing to the following:
Nancy A. Abraham, David A. Koelzer, and I hereby certify that I have mailed by United States
Postal Service or hand delivered the paper to the following non-ECF participants: U.S. Marshal,
600 Church St., Flint, MI., Pretrial Services Officer, 600 Church St., Flint, MI.

                                                     s/ James P. Peltier
                                                     James P. Peltier
                                                     Courtroom Deputy Clerk
